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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

      UBIQUITI NETWORKS, INC.,

                               Plaintiff,


                         v.

                                                          Civil Action No.: 1:18-cv-05369
      CAMBIUM NETWORKS, INC.;
      CAMBIUM NETWORKS, LTD.;                             JURY TRIAL DEMANDED
      BLIP NETWORKS, LLC;
      WINNCOM TECHNOLOGIES, INC.;
      SAKID AHMED; and
      DMITRY MOISEEV

                               Defendants.


                                   JOINT STATUS REPORT

        Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed, and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties submit an updated status report on logistics for the disclosure of the

18 Files. Dkt. 174; see also Dkt. 170.


I.      Source Code Review – Inspections and Location

        Defendants, through their expert Mr. Atif Hashmi, inspected Ubiquiti’s source code in

the Palo Alto, California office of Simpson, Thacher & Bartlett LLP on June 25, 29, and 30, and

were scheduled to continue their inspection July 7–10 at the same location. Mr. Hashmi

conducted review on July 7 and canceled the remaining appointments on July 8–10.


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         In terms of review locations, Ubiquiti has continued to investigate a location in Las

Vegas, Nevada, following Defendants renewed request on July 3. As Ubiquiti previously advised

the Court and Defendants, finding a review location in Las Vegas has been difficult, especially

given the COVID-19 circumstances. Nonetheless, the parties have agreed to continue to meet

and confer on this issue.

         On June 10, Ubiquiti requested that Defendants identify a location near Potomac,

Maryland, at which its expert could inspect Cambium’s source code. In the July 8 meet-and-

confer, Defendants’ counsel advised Ubiquiti’s counsel that they have not been able to identify

such a location in either Potomac or Washington D.C. Thus, the difficulty in arranging source

code review has affected all parties. And, as with the location for Defendants’ review, the parties

have agreed to continue to meet and confer on arranging a location for Ubiquiti to review

Cambium’s source code.


II.      Source Code Review – Content of Ubiquiti’s Source Code Production

         The parties attempted to confer on a joint statement regarding the content of Ubiquiti’s

source code production. For the reasons set forth in the attached meet/confer correspondence,

the parties were not able to reach an agreement as to the content of that joint statement by the

July 13, 2020 filing deadline. See July 10-14, 2020 E-mail Correspondence and attachment

(enclosed as Exhibit A). As a result, the parties’ respective statements are set forth below.

         A.     Ubiquiti’s Statement

         Ubiquiti has produced the source code for each version of the 18 modules for inspection,

as well as several registered versions of the entire code base for the AirOS firmware. The source

code for each version of the 18 modules is set out in a separate folder and identified as the

corresponding code by folder name.



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       On July 13, 2020, Defendants for the first time raised a question as to whether Ubiquiti

made any source code available outside the 18 modules. Ubiquiti immediately responded to

confirm that it had in fact produced source code outside the 18 modules (including the entire

source code for the three registered versions of AirOS). Defendants responded positively to this

information, stating “Thanks for looking into the overall AirOS code production issue. We’ll

take a look to confirm at the next inspection.” and requesting some additional clarifying

information to allow them to “direct our expert to that code.” See July 13, 2020, E-mail from A.

Wilson (attached as part of Exhibit A). 1 Despite not having conducted any further inspection of

the source code, however, Defendants have contended that Ubiquiti’s production is incomplete

without any support for that allegation.

       Defendants also assert that Ubiquiti has not produced “Ubiquiti’s proprietary

compilations of data contained in its calibration and configuration files of the Firmware.” Once

again, Defendants’ contention is misleading and omits information that Ubiquiti has provided in

connection with the parties’ meet/confer on this issue. Ubiquiti advised Defendants where the

proprietary compilations of data reside by identifying the names of the non-voluminous (small)

partitions on the M-Series devices that store such data. Ubiquiti contends that the identity of

what information in the partitions Defendants (or the Elevate software) have accessed is in

Defendants’ possession, custody, and control; that it is their obligation to produce it; and that

Defendants have improperly refused to do so. Ubiquiti has also produced the source code (e.g.,

the 18 modules) that read and/or write to those partitions.




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  Exhibit A includes a full set of the parties’ meet/confer correspondence regarding this joint
status report (e-mails dated July 10-14, 2020), as well as the final redline version of the proposed
joint status report circulated by Defendants on July 13 2020 at 10:38 p.m. cst.


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          Defendants also contend that “Ubiquiti has not produced any folder that is readily

identifiable as containing ‘Ubiquiti’s proprietary compilations of data contained in its calibration

and configuration files of the Firmware’ as alleged to be part of Ubiquiti’s ‘Proprietary

Firmware’ in the FAC (see Dkt. 65, ¶39).” Dkt. 173, p. 4-5. During the parties’ July 8 telephonic

meet/confer, Ubiquiti’s counsel advised Defendants’ counsel that the proprietary compilations of

data contained in the calibration and configuration files are stored in two non-voluminous small

partitions of the memory on the M-Series devices, and identified those partitions by name.

Ubiquiti has since re-identified those partitions in writing in response to further inquiries on this

issue in connection with the parties’ meet/confer correspondence regarding this joint status

report. To the extent Defendants claim the compilations of data in these partitions are not

proprietary because they are modified by users, they concede that Defendants have access to and

have analyzed that data. As such, Defendants’ attempt to generate a discovery dispute on this

matter is entirely manufactured and plainly conflicts with its own legal arguments regarding the

proprietary nature of the data.

          Additionally, in a previous, July 6 Joint Status Report, Defendants described an

“additional folder … that appears to contain source code for an additional File (a 19th File) that

was not listed in the FAC.” Dkt. 173, p. 4. During the parties’ July 8 telephonic meet/confer,

Ubiquiti’s counsel advised Defendants’ counsel that the “additional folder” referenced contains

source code that is not compiled or run on any Ubiquiti M-series device and contains historical

files related to at least one of the 18 modules. Ubiquiti has further confirmed this information in

writing in connection with the parties’ meet/confer correspondence regarding this joint status

report.




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       Finally, as reflected in the parties’ meet/confer correspondence regarding the drafting of

this joint status report, Ubiquiti again objects to Defendants’ attempts to belatedly raise new

disputes regarding the content of Ubiquiti’s source code production on the eve of the filing of

this joint status report. In this particular instance, Defendants unilaterally sought to raise new

issues without factual support and attempted to materially alter Ubiquiti’s own statements in this

joint status report approximately one-hour prior to the deadline for its submission. See July 10-

14, 2020 E-mail Correspondence and attachment to July 13 2020, 10:38 p.m. cst e-mail from A.

Wilson (Exhibit A). Ubiquiti has timely responded to each of Defendants’ inquiries with respect

to the source code review, and shall continue to do so in accordance with all applicable court

orders and discovery rules. However, it is improper for Defendants to continually attempt to

manufacture disputes on the eve of filing deadlines without providing an opportunity for the

parties to cooperatively address such matters without court intervention.

       B.      Defendants’ Statement

       Defendants contend that Ubiquiti has not complied with its obligations to produce the 18

Files to date and requests that the Court order at least an additional status report and/or

conference to discuss Ubiquiti’s failure to produce the 18 Files that it has alleged form the basis

of its case. 2 Defendants request immediate production of all the files asserted in this case or

immediate dismissal.

       Specifically, Ubiquiti has not made all of the source code and asserted “compilations of

data” (Dkt. 65, ¶39) available for the 18 Files and Defendants recently learned the Ubiquiti has

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  Defendants completed their initial assessment of the materials produced by Ubiquiti on the
source code review computer last week. After determining that Ubiquiti’s source code
production contained substantial deficiencies from what Ubiquiti was ordered to produce,
Defendants canceled the remaining inspection days that week in order to attempt to address and
resolve these issues with Ubiquiti before commencing further inspection of an incomplete
production.


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not produced the source code for Ubiquiti’s AirOS firmware at-large (including open source

portions). With regard to the 18 Files, Ubiquiti has not produced “Ubiquiti’s proprietary

compilations of data contained in its calibration and configuration files of the Firmware” as well

as additional information regarding the 18 Files (as discussed in more detail below). Ubiquiti

does not disagree that it has not produced this information—in fact, Ubiquiti refuses to provide it

and instead demands that Defendants produce and identify Ubiquiti’s own allegedly proprietary

data.   While Ubiquiti has advised Defendants where the proprietary compilations of data

allegedly reside by identifying the names of two partitions on the M-Series devices that store

such data, Defendants do not have access to those partitions, and, since those partitions contain

different information set by the user (i.e., user-set device and network names, user-selected IP

addresses falling within pre-defined ranges, and other customizable network information),

Defendants are unable to determine what specific data on those partitions comprise the

“compilations of data” that Ubiquiti claims a proprietary interest in. Ubiquiti should produce

information that is the subject of its claims contained in the First Amended Complaint—not

Defendants.

        Ubiquiti also stated that it has produced the source code that reads and writes to those

partitions during the ordinary operation of Ubiquiti’s firmware, and thus that Defendants must

identify and analyze the portions of that code that read and write to these partitions in order to

determine Ubiquiti’s “proprietary compilations of data”. This is improper for additional reasons.

First, source code that reads data from a partition provides no indication of the actual data stored

(or read from) that partition. Indeed, there would be no point in storing the data on a partition if

the data being read was already stored in the source code. Second and similarly, source code that

writes data often retrieves that data from other external source (i.e., a user input on a form) and




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thus the actual data being written is not stored in the source code itself.            Accordingly,

Defendants’ lengthy and burdensome analysis to determine the portions of source code that write

Ubiquiti’s allegedly proprietary compilations of data would likely not be fruitful in ascertaining

the actual data read from and written to those partitions. Third, the name of one of the two

partitions identified by Ubiquiti indicates that it is “read-only” memory. It is unlikely that source

code writes to “read-only” memory, and therefore it is even more unlikely that any data

contained in that partition is contained in these so-far unidentified portions of Ubiquiti’s code.

       With regard to the source code for Ubiquiti’s AirOS firmware at-large, Defendants’

expert was unable to find the corresponding source code on the code review computer. Ubiquiti,

on the other hand, contends that this code has been produced. Defendants are continuing to work

with Ubiquiti to resolve this issue, and to produce the actual compilations of data they claim as

proprietary.

       In the previous, July 6 Joint Status Report, Defendants described an “additional folder …

that appears to contain source code for an additional File (a 19th File) that was not listed in the

FAC.” Dkt. 173, p. 4. In a July 8 meet-and-confer, Ubiquiti’s counsel advised Defendants’

counsel that the “additional folder” referenced contains source code that is not compiled or run

on any Ubiquiti M-series device and contains historical files related to at least one of the 18

modules. Ubiquiti therefore indicated that it makes no claim or bases any part of its case based

on this additional 19th File.




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Dated: July 14, 2020                                 Respectfully submitted,

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